Case 2:24-cv-00782-cr Document 51-4 Filed 09/23/24 Page 1 of 3

Appendix E

EJ Live Chat — X

Thanks for your patience, Cedric!
| may be able to find messages
that had attachments
(forms/letters/etc.) but not
messages that were between
yourself and an agent.

Monica M, 12:48 PM
that is a little weird. | had threads
with questions regarding ticker

$MMTLP, can you find these
messages?

12:49 PM

The only message | was able to
find was your account transition
(to Schwab) letter.

Manica MA 19-2 PRA
Case 2:24-cv-00782-cr Document 51-4 Filed 09/23/24 Page 2 of 3

Ea Live Chat — X

Thanks for using Schwab Chat!
My name is Monica out of St.
Louis, Missouri. How can | help

today, Cedric?

Monica M, 12:40 PM

Hi, | am trying to access older
messages | had in my account

that got lost during the transition
from TD

12:41 PM

do you have any records from the
older messages?

12:41 PM

Case 2:24-cv-00782-cr Document 51-4 Filed 09/23/24 Page 3 of 3

Hi Scott, During the transition from TD to Schwab , they deleted all the correspondence I had
with them , mostly related to MMTLP, they mentioned that there is no way for me to get these
messages back. Cedric Asensio, 9454 Cobblecrest Dr, Highlands Ranch, CO 80126.

